Case 3:15-cv-01104-WHO Document 55-3 Filed 09/28/15 Page 1 of 5




  EXHIBIT 3
                           Case 3:15-cv-01104-WHO Document 55-3 Filed 09/28/15 Page 2 of 5
Researcher says can hack GM's OnStar app, open vehicle, start engine | Reuters                                                                          9/25/15, 11:59 AM




                                       EDITION: U.S.                                                      SIGN IN   REGISTER                 Search Reuters



    HOME    BUSINESS       MARKETS         WORLD       POLITICS         TECH     OPINION    BREAKINGVIEWS        MONEY     LIFE   PICTURES      VIDEO


                                                                     Live Coverage: Pope Francis in New York »




   Markets | Thu Jul 30, 2015 2:16pm EDT                                                   Related: STOCKS, REGULATORY NEWS, MARKETS, CYCLICAL CONSUMER GOODS


   Researcher says can hack GM's OnStar app, open
   vehicle, start engine
   BOSTON/DETROIT, JULY 30 | BY JIM FINKLE AND BERNIE WOODALL




   A researcher is advising drivers to halt the use of a mobile app for General Motors Co's
   OnStar vehicle communications system, saying hackers can exploit a security flaw in the                                TriMark
   product to remotely unlock cars and start engines.                                                                    Corporation
   "White-hat" hacker Samy Kamkar posted a video on Thursday saying he had figured out a                                     vehicle
   way to "locate, unlock and remote-start" vehicles by intercepting communications between                                latching &
   the OnStar RemoteLink mobile app and the OnStar service.                                                                  access
                                                                                                                         solutions latch,
   Kamkar said he plans to provide technical details on the hack next week in Las Vegas at                                handle, hinge
   the Def Con conference, where tens of thousands of hacking aficionados will gather to                                    and lock
   learn about new cybersecurity vulnerabilities.

   Kamkar released the video a week after Fiat Chrysler Automobiles recalled some 1.4
   million vehicles after hacking experts demonstrated a more serious vulnerability in the
   Jeep Cherokee. That bug allowed them to gain remote control of a Jeep traveling at 70
   miles per hour on a public highway.

                                                       ADVERTISING




                                                                                                                         TRENDING ON REUTERS




                                                                                                             !



http://www.reuters.com/article/2015/07/30/gm-hacking-idUSL1N10A2GX20150730                                                                                    Page 1 of 4
                            Case 3:15-cv-01104-WHO Document 55-3 Filed 09/28/15 Page 3 of 5
Researcher says can hack GM's OnStar app, open vehicle, start engine | Reuters                                                                   9/25/15, 11:59 AM



                                                                                                               House Speaker Boehner quits after five
   GM said its engineers had reviewed Kamkar's research. "A fix has already been                               stormy years |                                 1
   implemented," the company said in a statement.
                                                                                                               Glider backers report successful test in

   Kamkar said he discussed the fix with representatives from GM, but their efforts failed to
                                                                                                               quest for stratosphere                         2
   thwart the attack method he uncovered, which uses a device he built and dubbed
                                                                                                               Volkswagen rigged tests on 2.8 million
   'OwnStar.'"                                                                                                 cars in Germany, Berlin says                   3
   "They have not yet fixed the bug that 'OwnStar' is exploiting," he told Reuters.                            Bill to avoid government shutdown moves
                                                                                                               in Congress                                    4
   Representatives with GM did not immediately respond to requests for comment on the
                                                                                                               Fed's Yellen gets medical attention after
   status of the bug or fix.                                                                                   struggling with speech |                       5
   The 'OwnStar' issue drew the attention of U.S. safety regulators from the National Highway
   Traffic Safety Administration.

   Representatives from the agency discussed the issue with GM, said the flaw could involve
   doors and engine start-stop, but does not involve other critical safety systems, according to
   a person familiar with those discussions.

   More than 3 million people have downloaded the OnStar RemoteLink mobile app for Apple
   iOS and Google Inc devices, according to OnStar's website. (Reporting by Bernie Woodall
   in Detroit and Jim Finkle in Boston; Editing by Jonathan Oatis and Jeffrey Benkoe)




   More From Reuters                                 Sponsored Financial Content                         (?)


     Boeing KC-46A                                     Top 4 Credit Cards For Consolidating Your
     tanker to make first                              Debt NerdWallet
     flight on Sept. 25:
     U.S. Air Force                                    The 7 Most Amazing Credit Cards If You Have
      | 15 Sep                                         Excellent Credit Next Advisor

     Meet the angriest                                 Boost your retirement income with these
     man running for                                   Social Security benefits today The Fool
     president – no it’s
     not Trump | 15 Sep                                Avoid coming up short in retirement. Get The
                                                       15-Minute Retirement Plan Fisher Investments
     West Virginia
     engineer proves to                                4 Ways to Avoid Running Out of Money in
     be a David to VW's                                Retirement Fisher
     Goliath | 23 Sep
                                                                                                               Sponsored Financial Content                     (?)
     Factbox: Diesel
     engines and how
     VW's 'defeat device'                                                                                      Top 4 Credit Cards For Consolidating Your
     worked | 21 Sep                                                                                           Debt NerdWallet

                                                                                                               7 Outrageous Credit Cards For Those Of Us
     Might as well butter
                                                                                                               That Have Excellent Credit Next Advisor
     him, Trump is toast
      | 18 Sep
                                                                                                               Banks Hope Homeowners Stay Away From
                                                                                                               HARP Bills.com
   From The Web                                                             Sponsored Links by Taboola
                                                                                                               4 Ways to Avoid Running Out of Money in
                                                                                                               Retirement Fisher

                                                                                                               "America's 25 Most Toxic Stocks" NAMES the
                                                                                                               stock you should drop today Money and Markets




                                                                                                               RECOMMENDED VIDEO


http://www.reuters.com/article/2015/07/30/gm-hacking-idUSL1N10A2GX20150730                                                                                 Page 2 of 4
                             Case 3:15-cv-01104-WHO Document 55-3 Filed 09/28/15 Page 4 of 5
Researcher says can hack GM's OnStar app, open vehicle, start engine | Reuters                                                                   9/25/15, 11:59 AM




   Texas Drivers Are Stunned By       3 Banks Introduce New Cards      Drivers Surprised They Never
   This New Rule                      Paying Unusually High Miles P…   Knew This Rule
   Provide-Savings Insurance Quotes   LendingTree                      Provide-Savings Insurance Quotes     Airplane lands on Florida highway




   Brilliant Mortgage Payoff Method   4 in 5 Americans Are Ignoring    New Grammar App Can Help You
   Has Banks On Edge                  Buffett's Warning                Succeed at Work
   Comparisons.org                    The Motley Fool                  Grammarly                            Why VW scandal could spell death of diesel



   Sponsored Topics
    1. Top 10 4G LTE Cell Phones                        6. Luxury SUV Deals

    2. 5 Best Cars to Buy                               7. HD Security Camera Systems

    3. Affordable Crossover SUVs                        8. Latest Sports Cars

    4. 2015 Best Smartphones                            9. Best Credit Cards of 2015

    5. Cheapest Cell Phone Plans                        10. New Ford Focus RS                               Russia faces $12 billion asset freeze




                                                                                                            Fed's Yellen resumes schedule after struggling to
                                                                                                            finish speech




                                                                                                          KEY RATES
                                                                                                          MORTGAGE   HOME EQUITY    SAVINGS   AUTO    CREDIT CARDS



                                                                                                           See today's average mortgage rates across the country.

                                                                                                           TYPE                               TODAY       1 MO
                                                                                                           30-Year Fixed                      3.87%       3.85%

                                                                                                           15-Year Fixed                      2.93%       2.96%

                                                                                                           10-Year Fixed                      2.85%       2.90%

                                                                                                           5/1-Year ARM                       3.21%       3.14%

                                                                                                           30-Year Fixed Refi                 3.96%       3.96%

                                                                                                           15-Year Fixed Refi                 3.02%       3.06%

                                                                                                           5/1 ARM Refi                       3.45%       3.39%

                                                                                                           30-Year Fixed Jumbo                4.23%       4.28%
                                                                                                                                         Rates may include points.

                                                                                                           Source: Bankrate.com



http://www.reuters.com/article/2015/07/30/gm-hacking-idUSL1N10A2GX20150730                                                                                Page 3 of 4
                                    Case 3:15-cv-01104-WHO Document 55-3 Filed 09/28/15 Page 5 of 5
Researcher says can hack GM's OnStar app, open vehicle, start engine | Reuters                                                                                                                            9/25/15, 11:59 AM


                                                                                                                                                                SEE MORE KEY RATE DATA




                                                                                                                                                           SPONSORED TOPICS
                                                                                                                                                            1. Reverse Mortgage Calculator

                                                                                                                                                            2. 2015 Best SUVs

                                                                                                                                                            3. Best Retirement Communities

                                                                                                                                                            4. Cars to Buy in 2015

                                                                                                                                                            5. Compare Pension Plans

                                                                                                                                                            6. 10 Best Small Business




                                                                                                                                                                                                                Back to top



   Reuters.com                         Business       Markets      World   Politics   Technology      Opinion      Money      Pictures     Videos     Site Index

   More from Reuters                   Reuters News Agency          Brand Attribution Guidelines     Delivery Options

   Support & Contact                   Support     Corrections

   Account Information                 Register       Sign In

   Connect with Reuters                     Twitter             Facebook        Linkedin           RSS           Podcast            Newsletters          Mobile

   About                               Privacy Policy      Terms of Use     Advertise With Us          AdChoices        Copyright




                                                                                                                                                                                              Thomsonreuters.com

                                                                                                                                                                                              About Thomson Reuters

     Our Flagship financial                An ultra-low latency               A connected approach to            Our next generation legal           Our global tax                           Investor Relations
     information platform                  infrastructure for                 governance, risk and               research platform                   workstation
     incorporating Reuters                 electronic trading and             compliance                                                                                                      Careers
     Insider                               data distribution
                                                                                                                                                                                              Contact Us




   Thomson Reuters is the world's largest international multimedia news agency, providing investing news, world news, business news, technology news, headline news, small business news, news alerts, personal finance,
   stock market, and mutual funds information available on Reuters.com, video, mobile, and interactive television platforms. Thomson Reuters journalists are subject to an Editorial Handbook which requires fair presentation
   and disclosure of relevant interests.

   NYSE and AMEX quotes delayed by at least 20 minutes. Nasdaq delayed by at least 15 minutes. For a complete list of exchanges and delays, please click here.




http://www.reuters.com/article/2015/07/30/gm-hacking-idUSL1N10A2GX20150730                                                                                                                                          Page 4 of 4
